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                                      8                           UNITED STATES DISTRICT COURT
                                      9                                     DISTRICT OF ARIZONA
                                     10   Christopher J. Houck, on behalf of himself     No. 2:23-cv-00068-DGC
                                          and all those similarly situated,
                                     11                                                  DEFENDANT’S MOTION TO
                                     12                        Plaintiff,                DISMISS PLAINTIFF’S
3200 N. Central Avenue, Suite 1550




                                                                                         COMPLAINT FOR FAILURE TO
   Phoenix, Arizona 85012-2487




                                     13           v.                                     JOIN INDESPENSIBLE PARTIES
     FISHER & PHILLIPS LLP


          (602) 281-3400




                                     14   Maricopa County,                               (Oral Argument Requested)
                                     15                        Defendant.
                                     16
                                     17           Defendant Maricopa County, by and through undersigned counsel, hereby moves
                                     18   to dismiss Plaintiff Christopher J. Houck’s (“Houck”) “Collective Action and Class
                                     19   Action Complaint” (“Complaint”) for failure to join his spouse and the purported opt in
                                     20   plaintiffs’ spouses as necessary parties pursuant to Fed. R. Civ. P. 19(a). Alternatively,
                                     21   in the event the Court is not inclined to dismiss Houck’s Complaint, Defendant
                                     22   respectfully requests that this Court order Houck to amend his Complaint and properly
                                     23   identify all party plaintiffs in the caption. Defendant further requests that this Court
                                     24   otherwise strike immaterial, impertinent material found in the caption of the Complaint
                                     25   pursuant to Fed. R. Civ. P. 12(f).
                                     26           This Motion is supported by the following Memorandum of Points and
                                     27   Authorities, all pleadings and papers on file in this action, and such matters as may be
                                     28



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                                      1   introduced at the hearing on this Motion. Further, certification of counsel in compliance
                                      2   with Rule 12.1(C) of the Local Rules of Civil Procedure is attached hereto at Exhibit A.
                                      3                   MEMORANDUM OF POINTS AND AUTHORITIES
                                      4   I.      RELEVANT BACKGROUND
                                      5           Houck filed his Complaint on January 11, 2023 purporting to represent those
                                      6   similarly situated. (Doc. 1). The Complaint alleges Defendant “had and continues to
                                      7   have a consistent policy and practice of suffering or permitting employees who worked
                                      8   as Patrol Lieutenants, including Houck, to work in excess of forty (40) hours per week,
                                      9   without paying them proper overtime compensation as required by federal wage and
                                     10   hour laws.” (Doc. 1, ¶ 3). Houck seeks to “recover unpaid overtime and compensation,
                                     11   interest therein, statutory penalties, reasonable attorneys’ fees and litigation costs on
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                                     12   behalf of himself and all similarly situated current and former Patrol Lieutenants.” (Doc.
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                                     13   1, ¶ 4). While the caption of Houck’s Complaint is styled as a “Collective Action and
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                                     14   Class Action Complaint,” Houck asserts his claim under 29 U.S.C § 201, et. seq as a
                                     15   collective action. (Doc. 1, ¶ 39). Specifically, Houck asserts one cause of action for
                                     16   failure to pay overtime time wages pursuant to 29 U.S.C. § 207, et. seq. (Doc. 1, ¶¶ 45-
                                     17   51). Since Houck filed his Complaint, fourteen (14) individuals, including Houck, have
                                     18   allegedly consented to opt-in to this lawsuit. (Doc. 1 at Exhibit A; Docs. 5-14, and 16-
                                     19   18).
                                     20           Defendant’s counsel met and conferred with Houck’s counsel regarding the
                                     21   defects contained in Houck’s Complaint on February 13, 2023.
                                     22           Defendant categorically denies any wrongdoing in this matter and asserts that
                                     23   Houck’s claims are without merit. Even assuming the factual matters as pled in the
                                     24   Complaint to be true, Houck’s claims for relief are subject to dismissal as outlined below
                                     25   because Houck failed to join indispensable parties under Fed. R. Civ. P. 19(a).
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                                      1   II.     ARGUMENT
                                      2           A.      The Complaint Is Subject to Dismissal Because Houck Failed to Join
                                                          His Spouse And the Purported Opt-In Plaintiffs’ Spouses As
                                      3                   Indispensable Parties.
                                      4           Houck’s spouse and the purported opt-in plaintiffs’ spouses must be joined as
                                      5   indispensable parties under Fed. R. Civ. P. 19(a).1 Upon information and belief, Houck
                                      6   and most of the purported opt-in plaintiffs are married. However, Houck failed to join
                                      7   the spouses as necessary parties to this lawsuit. Defendant is confident that Houck’s
                                      8   claims are completely without merit and will be dismissed in their entirety at the
                                      9   summary judgment stage. Accordingly, when Defendant prevails, it will be entitled to
                                     10   recover its costs in defending this lawsuit. 28 U.S.C. §1920.
                                     11           Here, the taxable costs could amount to thousands of dollars. If Defendant
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                                     12   prevails and is awarded costs, however, complete relief would not be afforded because
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                                     13   marital property of Houck and the purported opt-in plaintiffs is shielded from any award
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                                     14   that Defendant may receive in this matter. Well-settled Arizona law provides that a
                                     15   “judgment against one spouse does not bind the community.” Spudnuts, Inc. v. Lane, 139
                                     16   Ariz. 35, 36, 676 P.2d 667, 670 (App. 1984); see also A.R.S. § 25-215(D); Eng v. Stein,
                                     17   123 Ariz. 343, 345-46, 599 P.2d 796, 798-99 (1979). Therefore, Houck and the
                                     18   purported opt-in plaintiffs seek relief that will benefit their marital community while
                                     19   simultaneously shielding their marital community from exposure to any judgment that
                                     20   Defendant may obtain. If Defendant is ultimately awarded a judgment against Houck
                                     21   and the opt-in plaintiffs, Houck and the opt-in plaintiffs will undoubtedly claim that their
                                     22   earnings and assets are community property, not their separate property, which are
                                     23   therefore unattachable under Arizona law unless their spouses are parties to the
                                     24   litigation. See A.R.S. § 25-215(D).
                                     25           By filing his case, Houck and the purported opt-in plaintiffs attempt to benefit
                                     26   their marital community. See A.R.S. § 25-211; Flexmaster Aluminum Awning Co. v.
                                     27
                                          1
                                           The Complaint is additionally subject to dismissal due to Houck’s failure to provide a
                                     28   valid opt-in notice as the named party plaintiff as set forth in Section D below.

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                                      1   Hirschberg, 173 Ariz. 83, 88, 839 P.2d 1128, 1133 (App. 1992); Shaw v. Greer, 67 Ariz.
                                      2   223, 225, 79 P.2d 965, 966 (1948). Any obligations Houck and the opt-in plaintiffs incur
                                      3   in seeking to benefit the community necessarily becomes an obligation of the marital
                                      4   community. See Ellsworth v. Ellsworth, 5 Ariz. App. 89, 423 P.2d 364 (1967). A
                                      5   judgment itself, though, is not enforceable against the marital community unless both
                                      6   spouses are parties to the litigation. Thus, in the absence of one spouse, “the court cannot
                                      7   accord complete relief among existing parties.” Fed. R. Civ. P. 19(a)(1).
                                      8           Accordingly, because Houck and several of the opt-in plaintiffs are married, their
                                      9   spouses must be joined, or the Complaint is subject to dismissal for failure to join
                                     10   indispensable parties. Fed. R. Civ. P. 19 requires joinder of additional parties if “in that
                                     11   person’s absence, the court cannot accord complete relief among existing parties.” Fed.
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                                     12   R. Civ. P. 19(a)(1) (emphasis added). Joinder of a spouse or the marital community is
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                                     13   customary and usual under Fed. R. Civ. P. 19. Indeed, the District Court for the District
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                                     14   of Arizona has previously ruled that a plaintiff’s spouse is properly joined under Fed. R.
                                     15   Civ. P. 19 for purposes of allowing the defendant to seek recovery of attorneys’ fees and
                                     16   costs against marital property. See Weimer v. Maricopa County Cmty. Coll. Dist., 184
                                     17   F.R.D. 309, 310 (D. Ariz. 1998).
                                     18           It is anticipated that Houck will argue that Fed. R. Civ. P. 19(a) is inapplicable in
                                     19   lawsuits brought under the Fair Labor Standards Act (“FLSA”) because the FLSA is not
                                     20   a fee shifting statute. Houck’s argument is misplaced.
                                     21           In Gomez, former employees of an Arizona hospital filed suit against four officers
                                     22   of the hospital under the FLSA. Gomez v. Faulkner, No. CV-12-01506-PHX-FJM, 2013
                                     23   WL 2558766, at *1 (D. Ariz. June 11, 2013). Plaintiffs named the officer’s wives as
                                     24   defendants because of the respective marital community property. Id. The Court
                                     25   reasoned that a spouse is not required to be joined only if the state’s community property
                                     26   law does not require joinder of spouses to collect on a community obligation. Id.
                                     27   Ultimately, the Court found the applicable state’s community property statute did not
                                     28   require joinder because it provided that either spouse could collect on a community

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                                      1   obligation. Id. Here, the opposite is true. Unlike Gomez, pursuant to A.R.S. § 25-215(D),
                                      2   “in an action on such a debt or obligation the spouses shall be sued jointly, and the debt
                                      3   or obligation shall be satisfied.” It is beyond dispute that Arizona is a community
                                      4   property state and joinder of spouses is required under A.R.S. § 25-215(D). Therefore,
                                      5   joinder of Houck’s spouse and the purported opt-in plaintiffs’ spouses is appropriate
                                      6   under Fed. R. Civ. P. 19 in an action brought under the FLSA.
                                      7           Joinder of the opt-in plaintiff spouses is also required. It is well settled that filing
                                      8   a written consent form is sufficient to confer party plaintiff status in an FLSA collective
                                      9   action. See e.g., Campbell v. City of Los Angeles, 903 F.3d 1090 (9th Cir. 2018) (“Under
                                     10   the Fair Labor Standards Act (FLSA), every plaintiff who opts in to a collective action
                                     11   has party status.”); Mickles on behalf of herself v. Country Club Inc., 887 F.3d 1270,
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                                     12   1273 (11th Cir. 2018) (“We conclude that filing a written consent pursuant to § 216(b) is
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                                     13   sufficient to confer party-plaintiff status.”); Canaday v. Anthem Companies, Inc., 9 F.4th
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                                     14   392, 394 (6th Cir. 2021), cert. denied, 213 L. Ed. 2d 1015, 142 S. Ct. 2777 (2022)
                                     15   (“Once they file a written consent, opt-in plaintiffs enjoy party status as if they had
                                     16   initiated the action.”); Waters v. Day & Zimmermann NPS, Inc., 23 F.4th 84, 89 (1st
                                     17   Cir.), cert. denied, 213 L. Ed. 2d 1016, 142 S. Ct. 2777 (2022) (“Conditional
                                     18   certification has no bearing on whether the opt-in plaintiffs become parties to the
                                     19   action.”). Therefore, any opt-in plaintiffs who filed valid consent forms must similarly
                                     20   have their spouses joined for community property purposes or face dismissal.
                                     21           B.      If The Court Is Disinclined To Dismiss The Complaint In Its Entirety
                                                          For Failure To Join, In The Alternative, Defendant Respectfully
                                     22                   Requests An Order That Houck Amend The Caption Of His
                                     23                   Complaint To Include (1) Houck’s Spouse, (2) All Opt-In Plaintiffs
                                                          With Facially Valid Written Consent Forms, And (3) The Opt-In
                                     24                   Plaintiffs’ Spouses, To The Extent They Are Married.
                                     25           As stated above, the Complaint is subject to dismissal because Houck failed to
                                     26   join his spouse and the opt-in plaintiffs’ spouses as necessary parties under Fed. R. Civ.
                                     27   P. 19. To the extent this Court is disinclined to dismiss Houck’s Complaint, however,
                                     28   Defendant respectfully requests that Houck amend the caption of his Complaint to

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                                      1   identify all party plaintiffs in the caption, which includes (1) Houck’s spouse, (2) all opt-
                                      2   in plaintiffs who filed facially valid written consent forms, and (3) the spouses of all opt-
                                      3   in plaintiffs to the extent they are married. Hoemke v. Macy’s W. Stores LLC, No. CV-
                                      4   20-01317-PHX-DWL, 2020 WL 5229194, at *1 (D. Ariz. Sept. 2, 2020) (holding
                                      5   whether to amend a case caption is within the Court’s discretion and should be based on
                                      6   factors such as promoting clarity and avoiding confusion); Fed. R. Civ. P. 10 (“The title
                                      7   of the complaint must name all the parties…”).
                                      8           To bring a collective action under the FLSA, a plaintiff must file a written
                                      9   consent form. See 29 U.S.C. § 216(b) (“No employee shall be a party plaintiff to any
                                     10   such action unless he gives his consent in writing to become such a party and such
                                     11   consent is filed in the court in which such action is brought.”). Specifically, a plaintiff is
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                                     12   required to file a valid written consent form. Courts have interpreted this to mean that
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                                     13   such document must have some indicia of reliability that consent is being provided by
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                                     14   the purported opt-in plaintiffs who signed it. See Kulik v. Superior Pipe Specialties Co.,
                                     15   203 F.Supp. 938, 941 (N.D.Ill.1962) (concluding that an FLSA written consent “is a
                                     16   document signed by the person whose consent it purports to be”). Examples of opt-in
                                     17   forms that have been deemed acceptable by Courts in the past are forms with some
                                     18   indicia of reliability such as typed forms that bore a wet signature or were authenticated
                                     19   by electronic signature programs, such as DocuSign. See Wingo v. Martin Transp., Inc.,
                                     20   No. 2:18-CV-00141-JRG, 2018 WL 6334312, at *14 (E.D. Tex. Dec. 5, 2018) (allowing
                                     21   prospective class members to electronically sign their consent forms but requiring that
                                     22   such electronic signatures “be through a service such as DocuSign, and may not merely
                                     23   be “/s/ FirstName LastName.”“).
                                     24           Here, the purported opt-in plaintiffs did neither. For example, the written consent
                                     25   forms do not appear to be hand-written, or at least signed by hand, nor does it appear that
                                     26   Houck’s counsel utilized an electronic signature program with built in safety
                                     27   mechanisms to ensure the signatures’ validity. Instead, many of these consent forms
                                     28   appear to be fully typed into a word document, including the purported opt-in plaintiffs’

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                                      1   signatures, and turned into a PDF document, which was presumably done by Houck’s
                                      2   counsel’s office. (Doc. 1 at Exhibit A [Christopher J. Houck]; Docs. 6 [Emanuel
                                      3   Sanchez], 10 [Todd Brice], 12 [A.J. Jackson], 18 [Kelly Bocardo]). Without making any
                                      4   admissions, the following individuals appear to be the only purported opt-in plaintiffs
                                      5   who provided facially valid opt-in consent forms: David Keller, Lt. Donald Rosenberger,
                                      6   Matthew T. Hunter, Jonathan Halverson, Lt. Ryan J. Neville, Jerry Vance, Jason N.
                                      7   Thomas, Michael Throwbridge, and Andrew Rankin. (Docs 5, 7-9, 11, 13-14, 16-18).
                                      8           Accordingly, and for the reasons stated in Section A of this motion, Defendant
                                      9   respectfully requests this Court order Houck amend the caption of his Complaint to
                                     10   properly name (1) Houck’s spouse, (2) the opt-in plaintiffs who provided facially valid
                                     11   opt-in consent forms, and (3) the opt-in plaintiffs’ spouses (to the extent they are
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                                     12   married).
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                                     13           C.      Defendant Respectfully Requests That This Court Strike Portions Of
          (602) 281-3400




                                                          The Caption As Immaterial and Impertinent Pursuant to Fed. R. Civ.
                                     14                   P. 12(f).
                                     15           Defendant further requests that this Court strike “Class Action” from Houck’s
                                     16   pleading because it is immaterial, impertinent and frankly causes confusion. Pursuant to
                                     17   Fed. R. Civ. P. 12, “The court may strike from a pleading an insufficient defense or any
                                     18   redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12. The
                                     19   purpose of a Fed. R. Civ. P. 12(f) motion is “to avoid the expenditure of time and money
                                     20   that must arise from litigating spurious issues by dispensing with those issues prior to
                                     21   trial.” Sidney-Vinstein v. A.H. Robins Co., 697 F.2d 880, 885 (9th Cir. 1983); see also
                                     22   Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d 970, 973 (9th Cir. 2010) (noting “[t]he
                                     23   function of a 12(f) motion is to avoid the expenditure of time and money that must arise
                                     24   from litigating spurious issues by dispensing with those issues prior to trial”).
                                     25           Here, Houck styles his Complaint as a “Collective Action and Class Action.”
                                     26   However, Houck has not satisfied any of the pleading requirements to maintain a class
                                     27   action. Pursuant to Fed. R. Civ. P. 23, a proposed class action must: (1) be sufficiently
                                     28

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                                      1   numerous, (2) involve questions of law or fact common to the class, (3) involve class
                                      2   plaintiffs whose claims are typical of those of the class, and (4) involve a class
                                      3   representative or representatives who adequately represent the interests of the class. Fed.
                                      4   R. Civ. P. 23. Here, Houck has not plead any of these requirements. Instead, Houck
                                      5   appears to frame his lawsuit on Collective Class allegations pursuant to 29 U.S.C § 201,
                                      6   et. seq. On February 13, 2023, the parties met and conferred to discuss this discrepancy,
                                      7   among other things, and the inclusion of “Class Action” appears to be a mistake and/or
                                      8   an oversight. Accordingly, Defendant requests that this Court strike “Class Action” from
                                      9   the caption of the Complaint to avoid any confusion and to fairly put all parties in this
                                     10   litigation on fair notice of the claims asserted.
                                     11           D.      The Complaint Is Further Subject To Dismissal Because Named
                                                          Plaintiff Houck Failed To Provide A Valid Written Consent Form.
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                                     13           As discussed above, Plaintiff Houck has not provided this Court with a valid
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                                     14   written consent form. The form filed at Doc. 1 at Exhibit A is completely typed, appears
                                     15   to be nothing more than a template prepared by his counsel’s office, and bears an
                                     16   “electronic signature” that is nothing more than typed name. There is absolutely no
                                     17   indicia that this written consent came from Houck, i.e., it is not in his handwriting, it
                                     18   does not bear his wet signature, it was not signed with a software program such as
                                     19   DocuSign.
                                     20           It is well established that a named plaintiff must file his valid written consent to
                                     21   commence a collective action under the FLSA. 29 U.S.C. § 256 ([I]n the case of a
                                     22   collective or class action instituted under the [FLSA], it shall be considered to be
                                     23   commenced in the case of any individual claimant—(a) on the date when the complaint
                                     24   is filed, if he is specifically named as a party plaintiff in the complaint and his written
                                     25   consent to become a party plaintiff is filed on such date in the court in which the action
                                     26   is brought or (b) if such written consent was not so filed or if his name did not so
                                     27   appear—on the subsequent date on which such written consent is filed in the court in
                                     28   which the action was commenced.”); Faust v. Comcast Cable Commc’ns Mgmt., LLC,

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                                      1   No. CIV.A. WMN-10-2336, 2013 WL 5587291, at *2 (D. Md. Oct. 9, 2013) (“Courts
                                      2   have repeatedly interpreted Section 256 as requiring all plaintiffs in an FLSA collective
                                      3   action, whether named or unnamed, to file written consents to toll the statute of
                                      4   limitations.”). For the above reasons, however, Houck has not submitted a valid opt-in
                                      5   notice. Plaintiff Houck’s counsel securing a valid written consent with some indicia of
                                      6   reliability This is surprising given that Houck is the named plaintiff in this case, and
                                      7   presumably, this issue could be remedied by Plaintiff Houck’s counsel provided
                                      8   Defendant with a valid written consent for Houck with some indicia of reliability.
                                      9   Accordingly, Houck’s claims must be dismissed for failing to provide a valid written
                                     10   consent form pursuant to 29 U.S.C. § 256.
                                     11   III.    CONCLUSION
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                                     12           For the foregoing reasons, Defendant respectfully requests that the Court dismiss
   Phoenix, Arizona 85012-2487
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                                     13   Houck’s Complaint in its entirety for failure to join indispensable parties under Fed. R.
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                                     14   Civ. P. 19. Alternatively, if the Court denies Defendant’s Motion to Dismiss, Defendant
                                     15   respectfully requests that this Court issue an order requiring Houck to amend his
                                     16   Complaint to identify all party plaintiffs and striking “Class Action” from the pleading.
                                     17           RESPECTFULLY SUBMITTED this 3rd day of March 2023.
                                     18                                           FISHER & PHILLIPS LLP
                                     19                                           By /s/ Jacob R. Valdez
                                     20                                              Shayna Balch Santiago
                                                                                     Jacob R. Valdez
                                     21                                              3200 N. Central Avenue, Suite 1550
                                     22                                              Phoenix, Arizona 85012-2487
                                                                                     Attorneys for Defendant
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                                      1                               CERTIFICATE OF SERVICE
                                      2           I hereby certify that on March 3, 2023, I electronically transmitted the attached
                                      3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
                                      4   Notice of Electronic Filing to the following CM/ECF registrant(s):
                                      5   Ty D. Frankel
                                      6   Yen Pilch Robaina & Kresin PLC
                                          6017 N. 15th Street
                                      7   Phoenix, Arizona 85014
                                      8   tdf@yprklaw.com
                                          Attorneys for Plaintiff
                                      9
                                          Patricia N. Syverson
                                     10   Yen Pilch Robaina & Kresin PLC
                                     11   9655 Granite Ridge Drive, Suite 200
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                                          Attorneys for Plaintiff
                                     13
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                                     14     s/ Michelle C. Colwell
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                                      1                            EXHIBIT A
                                      2      ATTORNEY CERTIFICATION PURSUANT TO LOCAL RULES OF CIVIL
                                                  PROCEDURE FOR THE DISTRICT OF ARIZONA 12.1(C)
                                      3
                                                  Undersigned counsel for Defendant hereby certifies that prior to filing the instant
                                      4
                                          Motion to Dismiss, counsel notified Plaintiff’s counsel of the issues asserted in this
                                      5
                                          Motion. Specifically, counsel for Defendant notified Plaintiff’s counsel of the defects
                                      6
                                          and during a personal telephonic consultation on February 13, 2023 and via email on
                                      7
                                          February 28, 2023. Despite this notification and the ensuing discussions, the parties were
                                      8
                                          unable to agree to cure the pleading by further permissible amendment offered by the
                                      9
                                          pleading party.
                                     10
                                                  DATED this 3rd day of March 2023.
                                     11
3200 N. Central Avenue, Suite 1550




                                     12                                            FISHER & PHILLIPS LLP
   Phoenix, Arizona 85012-2487
     FISHER & PHILLIPS LLP




                                     13                                            By /s/ Jacob R. Valdez
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                                                                                      Shayna Balch Santiago
                                     14                                               Jacob R. Valdez
                                                                                      3200 N. Central Avenue, Suite 1550
                                     15
                                                                                      Phoenix, Arizona 85012-2487
                                     16                                               Attorneys for Defendants
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